






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00341-CR






Lance Edward Goodwin, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF RUNNELS COUNTY, 119TH JUDICIAL DISTRICT

NO. 5208, HONORABLE BEN WOODWARD, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Lance Edward Goodwin filed a "petition for writ of error coram nobis" in the
district&nbsp;court, challenging the validity of the court's 2003 judgment finding Goodwin guilty of
the&nbsp;offense of impersonating a public servant and placing Goodwin on community supervision. (1)
The&nbsp;district court dismissed Goodwin's petition, and Goodwin has filed a pro&nbsp;se notice of appeal
from that order.

		The purpose of the writ of error coram nobis is to bring before the court rendering
the&nbsp;judgment matters of fact which, if known at the time the judgment was rendered, would have
prevented its rendition.  Ex parte McKenzie, 115 Tex. Crim. 315, 29 S.W.2d 771, 772 (Tex. Crim.
App. 1930).  The court of criminal appeals has long held that the writ has no application in this State.
See Ex parte Massey, 157 Tex. Crim. 491, 249 S.W.2d 599, 601 (Tex. Crim. App. 1952).

		Accordingly, we dismiss the appeal for want of jurisdiction.  See McKenzie,
29&nbsp;S.W.2d at 772.


						___________________________________________

						Bob Pemberton, Justice

Before Chief Justice Jones, Justices Puryear and Pemberton

Dismissed for Want of Jurisdiction

Filed:   July 21, 2010

Do Not Publish
1.   In 2006, the district court signed an order discharging Goodwin from the terms and
conditions of his community supervision.


